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2020FEB 24 AM 8 I F 9353 048 875181
E naas@aib.ie
Bankruptcy Clerks Office, US BA aKeup Tey COURT www.aib.ie
824 Market Street, STRICT OF DELAWARE
3 Floor,
Wilmington,
DE 19801
USA
18" February 2020.

Re: Tough Mudder Incorporated
Case No — 20-10036 (CSS) &20-10037(CSS) "

Dear Sir/ Madam,

Please find enclosed paperwork which was received here in error at AIB Bank on the above date.

Can you please correct your records and forward to the rightful recipient.

 

 
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Information to identify the case:

   

 

Debtor Tough Mudder Incorporated: Tough Mudder Event Production EIN 46 - 5652576 & XX-XXXXXXX
Incorporated
Name
Date case filed in chapter 1/7/2020

United States Bankruptcy Court District of Delaware

 

Case number: 20-10036 (CSS) & 20-10037 (CSS) Date case converted to chapter N/A

Official Form 309F (For Corporations or Partnerships)
Notice of Chapter 11 Bankruptcy Case 12117

For the debtor listed above and each of the debtors listed below under “Jointly Administered Cases”, a case has been
filed under chapter 11 of the Bankruptcy Code. An order for relief has been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about the
meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to
collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency,
repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees.

 

Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from
discharge may be required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 11 below
for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk’s office at the
address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

 

The staff of the bankruptcy clerk’s office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.

Vaiid Picture ID is required for access to the J. Caleb Boggs Federal Building. Additionally, Debtor(s) must also present photo ID plus
original verification of his/her social security number to the Bankruptcy Trustee. If you do not have a photo ID and/or original
verification of your social security number, please contact the Office of the United States Trustee’s (302-573-6491).

 

1. Debtor’s fullname Tough Mudder Incorporated; Tough Mudder Event Production Incorporated

 

2. Allother names used in the last 8 years Tough Mudder, LLC

 

Jointly Administered Cases Case No. Tax ID.

N/A
3. Address 15 MetroTech Center, Brooklyn, NY 11201

 

 

4. Debtor’s attorneys
N/A

 

5. Bankruptcy clerk’s office

Documents in this case may be filed 824 Market Street, 3° Floor Aaa wey ~ Friday
at this address. Wilmington, DE 19801 , “

You may inspect all records filed in

this case at this office or online at Contact phone 302-252-2900
WWW, pacer.gov.

 

 

 

Official Form 309F (For Corporations or Partnerships)Notice of Chapter 11 Bankruptcy Case Page 1
